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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ZACHERY MARTZ, : Civil No. 3:19-cv-1964
Plaintiff - (Judge Mariani)
; .
VINEY, et al.,
Defendants
ORDER

AND NOW, this q'" day of November, 2020, upon consideration of Defendants’
motion (Doc. 12) to dismiss, and for the reasons set forth in the accompanying
Memorandum, IT IS HEREBY ORDERED THAT:

1. Defendants’ motion (Doc. 12) is GRANTED. The Complaint is DISMISSED.

2. On or before November 23, 2020, Plaintiff shall file a proposed amended

complaint for the Court’s review. Failure to timely file a proposed amended
complaint will result in dismissal of this action without further notice of Court.

 

 

United States District Judge
